UNITED STATES DISTRICT COURT

case SHOR THE NORTHERN DISTRICT OF FERAS :

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ANG UA BH Slant WHANO Gro fy
Plaintiff 8 = L3c V =i 74 3N
v Civil Action No.
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CPS MEPs, HCETTTALG, DASHA BAR \ PL MORRAN Dence

Defendant q=aAues HOHAS KOraR RAST | KELSconw TAY FISCHER, ARTO
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* Attach additional pages as needed.

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provided by local rules of court. This form, approved by the Judicial Conference of the United States in eptember 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS MANO G94 ADEVABAA DEFENDANTS 43 N

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(b) County of Residence of First Listed Plaintiff ST IEW Oy COOUY County of Residence of First Listed ee SS S.
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(EXCEPT IN U.S. PLAINTIFF CASES) (IN U'S. PLAIN: E D
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THE TRACT OF LAND INVOLVED.

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(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known) : JUL 2 2 2019
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wA (SELF FILTWNGE\ _CLERK US DISTRICT COURT
\_ORTHERN DISTRICT OF TEXAS |
Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Iii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box Jor Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
ju U.S. Government ‘FR3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State js 1 [ 1. Incorporated or Principal Place Bp 4 94
of Business In This State
M2 U.S. Government m4 Diversity Citizen of Another State oO 2 ” 2 Incorporated and Principal Place o5 05
Defendant (Indicate Citizenship of Parties in Item III} of Business In Another State
Citizen or Subject of a A 3 O 3 Foreign Nation 6 AB 6
Foreign Country

Click here for: Nature of Suit Code Descriptions.

IV. NATURE OF SUIT (Place an "x" in One Box Only)
T ORFENURE/PE i

110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure [ 422 Appeal 28 USC 158 7 375 False Claims Act

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0 120 Marine 310 Airplane (1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 1 376 Qui Tam (31 USC
130 Miller Act 1 315 Airplane Product Product Liability 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
(1 150 Recovery of Overpayment | [J 320 Assault, Libel & Pharmaceutical ee : i {© 410 Antitrust

& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
M 151 Medicare Act [ 330 Federal Employers’ Product Liability O 830 Patent 450 Commerce
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(Excludes Veterans) CF 345 Marine Product Liability O 840 Trademark Corrupt Organizations
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of Veteran’s Benefits © 350 Motor Vehicle (370 Other Fraud © 710 Fair Labor Standards 1 861 HIA (1395ff) 1 490 Cable/Sat TV
0 160 Stockholders’ Suits ( 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) 1 850 Securities/Commodities/
C] 190 Other Contract Product Liability f 380 Other Personal 0 720 Labor/Management 0) 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability 60 Other Personal Property Damage Relations O 864 SSID Title XVI O 890 Other Statutory Actions
1 196 Franchise Injury 1 385 Property Damage © 740 Railway Labor Act 0 865 RSI (405(g)) 7 891 Agricultural Acts

62 Personal Injury - Product Liability © 751 Family and Medical 1 893 Environmental Matters

Medical Malpractice Leave Act 0 895 Freedom of Information
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© 210 Land Condemnation 7-440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement ( 870 Taxes (U.S. Plaintiff © 896 Arbitration
0 220 Foreclosure 6 441 Voting ( 463 Alien Detainee Income Security Act or Defendant) 1 899 Administrative Procedure
230 Rent Lease & Ejectment 0 442 Employment 0) 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
[ 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations O 530 General O 950 Constitutionality of
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(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): CY Toe WN

Brief description of cause: ? LLEG Al CASE AG Ay IST TO WY QEALTIEA \ PR eRERTY _

VI. CAUSE OF ACTION

VII. REQUESTED IN e CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: 4 Yes No
VIII. RELATED CASE(S)
IF ANY (See instructions): NG DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

